                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


ERIC WEINER, Individually and on Behalf of
All Others Similarly Situated,

                       Plaintiff,                Case No.: 3:17-cv-01469
         v.
                                                 Chief Judge Crenshaw
TIVITY HEALTH, INC., DONATO                      Magistrate Judge Newbern
TRAMUTO, GLENN HARGREAVES and
ADAM HOLLAND,

Defendants.



                           FIRST AMENDED COMPLAINT




                                             i
2356256 v1
    Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 1 of 47 PageID #: 272
                                                    TABLE OF CONTENTS

I.        Nature of the Action............................................................................................................ 1 

II.       Jurisdiction and Venue........................................................................................................ 4 

III.      Parties and Relevant Non-Parties........................................................................................ 4 
          A.      Lead Plaintiff .......................................................................................................... 4 
          B.      Defendants .............................................................................................................. 5 
                  1.     Tivity Health, Inc. ....................................................................................... 5 
                  2.     Individual Defendants ................................................................................. 5 
          C.      Former High-Level Manager .................................................................................. 8 

IV.       Substantive Allegations ...................................................................................................... 9 
          A.     Tivity is a health services company heavily reliant on its relationships with
                 health insurance plan customers. ............................................................................ 9 
          B.     Tivity’s relationship with UHC was critical to Tivity’s business and
                 closely followed by analysts. ................................................................................ 11 
          C.     Defendants learn that UHC becomes a competitor but conceal that
                 information from investors. .................................................................................. 12 
          D.     Tivity obfuscates the competitive threat posed by UHC and makes a series
                 of false and misleading statements and omissions. ............................................... 16 
                 1.      FY16 Form 10-K....................................................................................... 17 
                 2.      April 27, 2017 press release and earnings call .......................................... 19 
                 3.      1Q17 Form 10-Q ....................................................................................... 22 
                 4.      July 27, 2017 press release........................................................................ 24 
                 5.      2Q17 Form 10-Q ....................................................................................... 25 
                 6.      October 26, 2017 earnings call ................................................................. 27 
                 7.      3Q17 Form 10-Q ....................................................................................... 28 
          E.     The truth is revealed and Tivity’s stock plummets. .............................................. 30 
          F.     Post Class-Period developments confirm Defendants’ scienter. .......................... 31 

V.        Additional Scienter Allegations ........................................................................................ 32 

VI.       Loss Causation .................................................................................................................. 34 

VII.      No Safe Harbor ................................................................................................................. 35 

VIII.  Class Action Allegations................................................................................................... 36 

IX.       Fraud on the Market and Affilated Ute Allegations .......................................................... 38 

X.        Claims for Relief ............................................................................................................... 39 
          Count I .............................................................................................................................. 40 
          Count II ............................................................................................................................. 41 


                                                                       ii
2356256 v1
       Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 2 of 47 PageID #: 273
XI.      Prayer for Relief................................................................................................................ 41 

XII.     Jury Trial Demanded......................................................................................................... 41 




                                                                    iii
2356256 v1
    Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 3 of 47 PageID #: 274
         Lead Plaintiff Oklahoma Firefighters Pension and Retirement System (“Oklahoma

Firefighters” or “Lead Plaintiff”) makes the following allegations against Defendants Tivity

Health, Inc. (“Tivity” or the “Company”), Donato Tramuto (“Tramuto”), Glenn Hargreaves

(“Hargreaves”), and Adam Holland (“Holland,” and together with Tramuto and Hargreaves,

“Individual Defendants”) (collectively “Defendants”), based on its personal knowledge, on

information and belief, and on the investigation of Lead Plaintiff’s counsel, which included a

review of relevant U.S. Securities and Exchange Commission (“SEC”) filings by the Company,

regulatory filings and reports, press releases, public statements, interviews with former

employees of Tivity, including a former high-level manager (referred to herein as “Former High-

Level Manager”), news articles, other publications, securities analysts’ reports and advisories

about the Company, and other readily obtainable information. Lead Plaintiff believes that

substantial, additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

I.       NATURE OF THE ACTION

         1.    This is a securities class action on behalf of purchasers of Tivity securities

between March 6, 2017 and November 6, 2017, inclusive (“Class Period”), seeking to pursue

remedies under the Securities Exchange Act of 1934 (the “Exchange Act”). As detailed herein,

Lead Plaintiff’s claims arise out of Defendants’ series of false and misleading statements

concerning Tivity’s relationship with one of its most important health plan customers, United

Healthcare, Inc. (“UHC”). Defendants repeatedly represented that Tivity’s contractual

relationship with UHC was on terms favorable to Tivity and portrayed that relationship in

unqualifiedly positive terms, while failing to disclose significant historical facts to the contrary,

including facts about the material deterioration of that relationship, thereby misleading the

investing public.


2356256 v1
     Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 4 of 47 PageID #: 275
         2.    For quite some time, Defendants knew there was a significant risk that UHC’s

resources, combined with relatively low barriers to entry, could lead UHC to directly compete

with Tivity by offering a fitness program benefit for Medicare Advantage beneficiaries similar to

Tivity’s flagship product, SilverSneakers. Defendants also knew that such a development would

be a material consideration for the investing public, and thus indicated in Tivity’s SEC filings

that two important risks facing its business were: (1) that health plan customers like UHC were

responsible for a significant percentage of its revenues, with UHC alone responsible for more

than 10% of revenues in FY16;1 and (2) that better-resourced entities, including its own health

plan customers (although never specifically identifying which customers), might compete with

its product offerings. But these risk disclosures only told half the story—the full truth that was

omitted from certain of Tivity’s public filings and statements during the Class Period was that

Defendants knew UHC’s entry into the market had already happened. Indeed, the terms of

UHC’s contracts with Tivity during the Class Period expressly permitted UHC to offer a

competing product.

         3.    By late 2016, Defendants learned that the risk of UHC becoming a competitor had

materialized, as UHC began to launch its Optum Fitness Advantage program, which competed

directly with Tivity’s SilverSneakers program, in select states, including Washington and New

Jersey. Despite learning of UHC’s launch of this competitive program in advance of the 2016

October open enrollment period,2 Defendants omitted to disclose and concealed this information

from shareholders. Instead, in early 2017, Defendants touted the Company’s relationship with


         1
         “FY” means Tivity’s fiscal year, which runs from January 1 to December 31, and FY16
means fiscal year 2016. Similarly, “1Q16” refers to the first quarter of 2016.
         2
         Open enrollment refers to the eight-week period running from the beginning of October
to the beginning of December in which individuals may elect their health plan coverage for the
upcoming calendar year beginning on January 1.
                                                2
2356256 v1
    Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 5 of 47 PageID #: 276
UHC by highlighting the Company’s purportedly successful contract renewal negotiations with

UHC.

         4.    Instead of informing the investing public that one of Tivity’s most important

customers was becoming a competitor, Defendants inserted new risk language into the

Company’s public filings stating that there was a chance that “health plan customers could

attempt to offer services themselves that compete directly with our offerings or stop providing

our offerings to their members.” (Emphasis added.) What this omitted, and what was known to

Defendants at the time this new risk disclosure was made, was that at least six months earlier,

health plan customer UHC had already begun to offer competing services.

         5.    By presenting a historical, material fact about which Defendants had actual

knowledge as a mere possibility, and by failing to disclose that historical fact, Defendants

knowingly, or at least recklessly, misled the investing public. Then, even as Defendants learned

later in the Class Period that UHC would be intensifying its competitive efforts by expanding its

competing program beyond New Jersey and Washington to nine additional states, Defendants

not only continued to withhold that information from the investing public, but continued to tout

Tivity’s relationship with UHC in unqualifiedly positive terms.

         6.    Tivity made multiple representations in early 2017 that contract renewal

negotiations with UHC were proceeding smoothly and never indicated that the Company’s

relationship with UHC was in peril and deteriorating in light of UHC’s direct competition with

Tivity. As a result, Tivity’s stock price was artificially inflated and maintained at an artificially

high level throughout the Class Period.

         7.    On November 6, 2017, during the open enrollment period for 2018, UHC issued a

press release announcing that beginning in January 2018, UHC’s Optum Fitness Advantage


                                                 3
2356256 v1
    Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 6 of 47 PageID #: 277
program would be available at no additional cost to customers enrolled in certain of UHC’s

Medicare Advantage plans in 11 states. On this news, Defendants could no longer hide that

UHC—one of Tivity’s most important customers—had become a direct competitor to its most

important product SilverSneakers, and the facts and truth that Defendants had been concealing

were revealed. As a result, Tivity’s stock price plummeted, declining $16.45, or nearly 34.24%,

from a close of $48.05 per share on November 3, 2017, to a close of $31.60 per share on

November 6, 2017, on extraordinarily high volume of 9,034,800 shares.3

II.       JURISDICTION AND VENUE

          8.    The claims here arise under Sections 10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. §

240.10b-5.

          9.    This Court has jurisdiction over these claims pursuant to 28 U.S.C. §§ 1331 and

1337 and Section 27 of the Exchange Act.

          10.   Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. §1391(b) and (c) because one or more Defendants may be found or resides here or had

agents in this district, transacted or is licensed to transact business in this district.

III.      PARTIES AND RELEVANT NON-PARTIES

          A.    Lead Plaintiff

          11.   Lead Plaintiff Oklahoma Firefighters Pension and Retirement System (defined

above as “Oklahoma Firefighters” or “Lead Plaintiff”) is a pension fund established by

Oklahoma law for the benefit of Oklahoma firefighters. During the Class Period, Lead Plaintiff


          3
          During the Class Period, the average trade volume was approximately 490,000 shares
per day. Accordingly, the trade volume on the day of the alleged corrective disclosure was more
than 18 times the daily average.
                                                    4
2356256 v1
       Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 7 of 47 PageID #: 278
purchased 20,658 shares of Tivity common stock and lost more than $107,000 as a result of the

misconduct described herein. Lead Plaintiff’s transactions in Tivity common stock during the

Class Period are set forth in the PSLRA certification previously filed with the Court and is

incorporated by reference herein. See ECF Nos. 18-2 and 18-3.

         B.    Defendants

               1.     Tivity Health, Inc.

         12.   Tivity Health, Inc. (defined herein as “Tivity”) is a publicly traded Delaware

corporation headquartered at 701 Cool Springs Boulevard, Franklin, Tennessee 37067. It was

incorporated in 1981, and in January 2017, it rebranded and renamed itself from Healthways,

Inc. (“Healthways”) to Tivity, to purportedly better align with its portfolio of fitness and health

improvement programs.

         13.   Tivity’s health and fitness programs are offered primarily to senior populations,

with its flagship product being the SilverSneakers program.

         14.   SilverSneakers provides access to a national network of approximately 15,000

fitness centers with which Tivity has formed relationships.

               2.     Individual Defendants

         15.   Donato Tramuto (defined herein as “Tramuto”) is the CEO of Tivity and has been

since November 1, 2015. He was elected to the board of Tivity while it was still known as

Healthways in 2013. He served as Healthways’s chairman from June 12, 2014 to 2015. He has

previously served in chief executive positions at Physicians Interactive, i3 (a division of

UnitedHealth Group), and Constella Health Strategies, all of which are companies in the

healthcare industry. Since becoming Tivity’s CEO, Tramuto has signed all of the Company’s

Form 10-Ks and the Sarbanes-Oxley Certifications incorporated in every Class Period Form 10-

K and Form 10-Q.
                                                5
2356256 v1
    Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 8 of 47 PageID #: 279
         16.   Glenn Hargreaves (defined herein as “Hargreaves”) was the Company’s Chief

Interim Financial Officer (“CIFO”) from the beginning of the Class Period until June 14, 2017,

and was the Company’s Chief Accounting Officer throughout the Class Period. Hargreaves

participated in UHC contract renewal negotiations, signed the false and misleading FY16 Form

10-K and 1Q17 Form 10-Q, and signed the April 27, 2017 Form 8-K attaching the false and

misleading April 27, 2017 press release announcing, inter alia, the renewal of the UHC contract

and the conference call on which Tramuto made additional false and misleading statements. In

his role, Hargreaves met with Tramuto and other senior management to review and/or prepare

Tivity’s statements made in periodic corporate filings and during conference calls with financial

analysts following Tivity.

         17.   Adam Holland (defined herein as “Holland”) was the Company’s Chief Financial

Officer (“CFO”) from June 14, 2017 to the end of the Class Period. Prior to joining Tivity,

Holland served as Chief Financial Officer for 12 years of Kirkland’s, Inc., a publicly traded

company and leading retailer of home décor and gifts. Soon after his arrival at Tivity, Holland

became involved in Project Success, described below, and other efforts to contain the fallout

from UHC’s defection, and signed the 2Q17 and 3Q17 Form 10-Qs which contained false and

misleading statements and omissions, and the October 26, 2017 Form 8-K attaching the October

26, 2017 press release announcing the conference call on which Tramuto made false and

misleading statements. In his role, Holland met with Tramuto and other senior management to

review and/or prepare Tivity’s statements made in periodic corporate filings and during

conference calls with financial analysts following Tivity.

         18.   Because of the Individual Defendants’ respective positions with the Company,

they had access to adverse undisclosed information about the Company’s business, operations,


                                                6
2356256 v1
    Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 9 of 47 PageID #: 280
present and future business prospects via access to internal corporate documents, conversations

and connections with other corporate officers and employees. Also, given their respective

positions, Individual Defendants were directly involved in negotiating Tivity’s contracts with

health plan customers such as UHC.

         19.   It is appropriate to treat the Individual Defendants as a group for pleading

purposes and to presume that the false, misleading and incomplete information conveyed in

Tivity’s public filings, press releases and earnings calls, as alleged herein, are the collective

actions of the narrowly defined group of defendants defined above as the Individual Defendants.

Each of the Individual Defendants, as officers of Tivity, by virtue of their high-level positions

with the Company, directly participated in the management of the Company, were directly

involved in the day-to-day operations of the Company at the highest levels, and were privy to

confidential proprietary information concerning the Company and its business, operations, and

contractual relationships with its customers, as alleged herein. Each acted on behalf of the

Company and the actions of each, as alleged herein, can be imputed to Tivity. The Individual

Defendants were involved in drafting, producing, reviewing and/or disseminating the false and

misleading statements and information alleged herein, knew or recklessly disregarded that the

false and misleading statements described herein were being issued regarding the Company, and

approved or ratified these statements, in violation of the federal securities laws.

         20.   As officers and controlling persons of a publicly held company whose common

stock was and is registered with the SEC pursuant to the Exchange Act, and was and is traded on

the NASDAQ, and governed by the provisions of the federal securities laws, the Individual

Defendants each had a duty to promptly disseminate accurate and truthful information with

respect to the Company’s financial condition and performance, growth, operations, financial


                                                  7
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 10 of 47 PageID #: 281
statements, business, markets, management, earnings and present and future business prospects,

and to correct any previously issued statements that had become materially misleading or untrue,

so that the market price of Tivity’s publicly traded securities would be based on truthful and

accurate information. The Individual Defendants’ misrepresentations and omissions during the

Class Period violated these specific requirements and obligations.

         21.   The Individual Defendants, because of their positions of control and authority as

officers and/or directors of the Company, were able to and did control the content of the various

SEC filings, press releases and other public statements pertaining to the Company during the

Class Period. The Individual Defendants would have each been provided with copies of the

documents alleged herein to be misleading, including the Company’s quarterly and annual filings

and the prepared remarks for each of the Company’s quarterly earnings conference calls, prior to

or shortly after their issuance and had the ability or opportunity to prevent their issuance or cause

them to be corrected. Accordingly, the Individual Defendants are responsible for the accuracy of

the public reports and releases detailed herein and are therefore primarily liable for the

representations contained therein.

         C.    Former High-Level Manager

         22.   The Former High-Level Manager was employed at Tivity from November 2005

through November 2017. The Former High-Level Manager was hired as a Senior Account

Manager and eventually promoted to Manager, Provider Services and worked in that position

until the Former High-Level Manager left the Company. The Former High-Level Manager

reported to various individuals during his/her tenure at Tivity. The Former High-Level

Manager’s last supervisor was Tanya Smith, Director, Provider Relations.

         23.   The Former High-Level Manager led a team of 11 account managers who were

expected to collaborate with fitness center clients to promote the SilverSneakers program. The
                                                8
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 11 of 47 PageID #: 282
Former High-Level Manager communicated with fitness centers and provided resolutions to their

concerns. The Former High-Level Manager also created strategic plans to increase member

engagement and executed target goals to increase program revenues. The Former High-Level

Manager explained that his/her primary duty was to ensure that fitness centers complied with

Tivity’s policies and procedures regarding fitness center program guidelines. The Former High-

Level Manager had responsibility for fitness centers in Georgia, Tennessee, Alabama and all

locations west of Tennessee.

         24.   As discussed in more detail below, the Former High-Level Manager confirmed,

based on his/her personal knowledge, that Tivity management had actual knowledge of UHC’s

competing Optum Fitness Advantage program long before disclosing that knowledge to the

investing public.

IV.      SUBSTANTIVE ALLEGATIONS

         A.    Tivity is a health services company heavily reliant on its relationships with
               health insurance plan customers.

         25.   As a health services company, Tivity’s principal business is a program called

SilverSneakers, which provides access to a network of approximately 15,000 fitness centers to

seniors enrolled in Medicare Advantage, Medicare Supplement, and Group Retiree health plans.4

SilverSneakers is responsible for 82% of Tivity’s overall annual revenues. Given the importance




         4
           As mentioned, Tivity was previously named Healthways. Pursuant to a 2015
restructuring plan, Healthways divested numerous less profitable business lines in 2015 and
2016, retaining SilverSneakers and two other smaller health and fitness programs, Prime Fitness
and WholeHealth Living. Prime Fitness is like SilverSneakers but is aimed at the 18-64
population and is offered through commercial health plans and employers. WholeHealth Living
offers services related to complementary, alternative, and physical medicine, also primarily
through health plans.


                                              9
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 12 of 47 PageID #: 283
of this program to Tivity’s operations, analysts have described Tivity as a “a pure-play Silver

Sneakers company.”

         26.   Medicare is a national health insurance program that provides health insurance for

Americans aged 65 and older (and certain younger people with certain disabilities).

         27.   Medicare Advantage is a program whereby Medicare beneficiaries receive their

Medicare benefits through private health plans.

         28.   Medicare Supplement plans, also called Medigap plans, are private insurance

policies that help pay some of the health care costs not covered by Medicare, like copayments,

coinsurance, and deductibles.

         29.   Group Retiree plans are private group health plans that integrate with Medicare

provided by employers to retirees.

         30.   Of these programs, the population enrolled in Medicare Advantage is the target

market for Tivity’s SilverSneakers. As Tramuto put it during a June 13, 2017 conference hosted

by William Blair & Co., although Tivity targets Medigap enrollees as well, “our bread and butter

has primarily been in the Medicare Advantage.”

         31.   Tivity does not itself offer or administer health insurance plans. Instead, Tivity

offers SilverSneakers to such plans, like UHC, for a fee. In return, UHC customers are given

SilverSneakers benefits, like access to fitness centers, as part of their coverage.

         32.   This business model means that Tivity forms direct relationships with fitness

centers to implement its SilverSneakers program, and that health plan customers like UHC are

critical to Tivity’s success because they drive membership of SilverSneakers. Indeed, Tivity has

listed the fact that “[a] significant percentage of our revenues is derived from health plan

customers” as a risk factor in each of its Form 10-Ks since at least fiscal year 2010.


                                                  10
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 13 of 47 PageID #: 284
         33.   For example, in its FY15 Form 10-K, issued on March 4, 2016, Tivity

acknowledged that its reliance on health plan customers posed important risks, including: an

inability “to retain health plan customers” or “to provide our products and services to such health

plan customers on terms at least as favorable to us as currently provided”; a loss of “bargaining

power [vis-à-vis health plan customers], which may lead to further pressure on the prices for our

products and services”; and “a reduction in the number of covered lives enrolled with our health

plan customers or a decision by our health plan customers to take programs in-house.”

         34.   Tivity did not have exclusivity clauses with it health plan customers so

competition from them was not contractually prohibited. Tivity had generally removed language

prohibiting competition or requiring exclusivity years earlier, in part because of a 2011 lawsuit

brought by a competitor challenging exclusivity clauses in Tivity’s contracts with fitness centers.

         35.   Given the foregoing, information about Tivity’s relationship with health plan

customers, particularly large health plans like UHC, is material to the investing public in

assessing Tivity’s operations and continued viability.

         B.    Tivity’s relationship with UHC was critical to Tivity’s business and closely
               followed by analysts.

         36.   Among Tivity’s health plan customers, UHC loomed particularly large and was

critical to Tivity’s business. According to Tivity’s FY16 Form 10-K, for the year ended

December 31, 2016, UHC accounted for more than 10% of Tivity’s revenues from continuing

operations.

         37.   Analysts acknowledged the importance of UHC to Tivity’s SilverSneakers

program. For example, in a February 24, 2017 report issued by Barrington Research, analyst

Michael Petusky highlighted Tivity’s “high conviction that it will renew its contract with United

Healthcare, a key SilverSneakers account, within the next few months,” “a recent meeting

                                                11
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 14 of 47 PageID #: 285
between Tivity and United [that] went very well,” and statements by Tivity “that there is ‘terrific

alignment’ between the two organizations,” as “very good news.”

         38.   Along similar lines, a February 24, 2017 Piper Jaffray report by analysts Sean

Wieland and Nina Deka noted that “[t]he biggest risk in [Tivity] is the overhang on the

upcoming United renewal this year, which TVTY has repeatedly stated they are confident this

renewal will happen without any hiccups.”

         39.   As another example, an April 27, 2017 report by Jefferies analysts David Styblo

and David Windley listed as a “Key Takeaway” the point that “Renewing UNH Contract

Reduces Risk,” given that “UNH is the second largest contract representing about 15% of

revenue.”

         40.   None of these analysts who closely followed Tivity indicated that Tivity had

expressed the possibility that the contract terms with UHC would differ in any appreciable way

or result in Tivity providing less services to UHC.

         C.    Defendants learn that UHC becomes a competitor but conceal that
               information from investors.

         41.   While Tivity’s Form 10-Ks included general, boilerplate risk disclosures

concerning potential competition from “[o]ther entities, whose financial, research, staff, and

marketing resources may exceed our resources,” including “health plans,” and there was a risk

that “a decision by our health plan customers to take programs in-house could adversely affect

our results of operations” the 10-Ks failed to disclose the immediacy of this risk or that the risk

began materializing by at least the Fall 2016, when Defendants learned that UHC was rolling out

a competitive product in at least three states.

         42.   The Fall 2016 rollout of UHC’s competitive product during the open enrollment

period for 2017 was significant because UHC was one of Tivity’s largest subscribers of

                                                  12
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 15 of 47 PageID #: 286
SilverSneakers, if not the largest. UHC began offering its Medicare Advantage customers a new

benefit,     Optum   Fitness   Advantage—that         directly   competed   and   indeed   replaced

SilverSneakers—in at least two states, Washington and New Jersey, and UHC had sent letters

indicating it would offer its new program in at least one additional southern state.

         43.    As Tivity’s second largest customer by revenue, competition by UHC threatened

Tivity in two directions, by introducing competition for market share and simultaneously

eliminating a significant source of revenue.

         44.    Given the importance of the Company’s relationship with UHC, Defendants knew

of these developments as they occurred. As Tivity itself has stated, Defendants regularly met

with health plan customers like UHC to discuss aspects of their relationship and their contract.

For example, during an April 27, 2017 earnings call, Tramuto explained that he had been

“continu[ing] [his] travels to meet [Tivity’s] health plan clients,” and that he “plan[ed] to

continue this practice because of the importance of these relationships in understanding exactly

what our clients want and need from our relationship.” Similarly, on a May 3, 2017 investor call

at the Deutsche Bank Health Care conference, Tramuto stated that “One of the advantages that

I’ve had over the last 1.5 years having been in health care for 40 years is that I‘ve been able to

get out and meet with the CEOs of our largest health plans and regional plans. And without a

doubt, they understand that the benefit we bring is to be their conduit in getting close to the

members.”

         45.    Moreover, before rolling out Optum Fitness Advantage in Washington, New

Jersey and other states, UHC informed Tivity that they were removing SilverSneakers from its

Medicare Advantage plans in those states as part of the open enrollment process. Indeed, the

nature of Medicare open enrollment requires that health plan customers inform Tivity in advance


                                                 13
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 16 of 47 PageID #: 287
of open enrollment about the markets in which they were declining to renew SilverSneakers.

Further, open enrollment lasts several months and involves significant outreach by health plans

to plan participants as well as to service providers like Tivity. The introduction, therefore, of

Optum Fitness Advantage necessitated significant communication by UHC with fitness centers

who were also part of Tivity’s network. Some of these fitness centers contacted Tivity about

UHC’s outreach.

         46.   According to the Former High-Level Manager, rumors that UHC and other clients

could turn into competitors instead of partners were routine. The Former High-Level Manager

explained that “over the years we knew health plan clients wanted to start their own programs.”

         47.   In the Fall of 2016, prior to open enrollment which ran from October to

December, the Former High-Level Manager was notified by an account manager, Carol

Meadows, who reported directly to the Former High-Level Manager, that a fitness center partner

in either Georgia, Alabama, or Arkansas had received a letter from UHC that stated UHC was

beginning its own SilverSneakers-like program called Optum Fitness Advantage. The Former

High-Level Manager characterized the letter as “aggressive” and said it insinuated that fitness

centers would lose all SilverSneakers members, not just those insured through UHC. The Former

High-Level Manager obtained a copy of the letter and immediately forwarded it to his/her

supervisor, who escalated the letter up the chain of command to executive management. The

Former High-Level Manager and his/her team then promptly prepared talking points to assure

their fitness center partners that only UHC-SilverSneakers members would be affected by any

new program rolled out by UHC. The Former High-Level Manager said that based on the letter

and his/her supervisor’s actions, he/she believes that Tivity’s executive management knew of

UHC’s planned rollout of Optum Fitness Advantage as early as the Fall of 2016.


                                               14
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 17 of 47 PageID #: 288
         48.   According to the Former High-Level Manager, by early 2017, UHC was sending

similar letters about Optum Fitness Advantage to fitness partners outside of New Jersey and

Washington state.

         49.   Any conceivable remaining uncertainty or lack of knowledge on Defendants’ part

as to whether UHC was a competitor dissipated entirely in January 2017, when UHC actually

started operating Optum Fitness Advantage in Washington and New Jersey.

         50.   Moreover, prior to the start of the Class Period, Defendants were engaged in

active contract renewal negotiations with UHC. Those discussions, and the contract that was

eventually signed, confirmed that UHC would escalate its competition with SilverSneakers by

reducing the number of markets in which UHC would offer SilverSneakers to its members.

         51.   In any event, under no circumstances can Defendants disclaim knowledge after

June 2017, because they admitted to a William Blair analyst that they “have been aware of these

contract losses [related to UHC] since June 2017.”

         52.   Indeed, the Former High-Level Manager learned that in June 2017 executive

management formed a committee to develop a strategic plan to retain customers in light of

UHC’s roll out of Optum Fitness Advantage in multiple states. The plan was referred to as

“Project Success.” The committee met at least once in June 2017 at the Company’s headquarters

in Nashville, Tennessee. Caroline Khalil, Vice President of Network Partnership &

Programming, was a member of the committee, and she communicated with the Former High-

Level Manager and others concerning Project Success.

         53.   The Former High-Level Manager further explained that in August 2017, Caroline

Khalil held a conference call with select colleagues to inform them that UHC was leaving the

SilverSneakers program and starting its own program called Optum Fitness Advantage.


                                              15
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 18 of 47 PageID #: 289
          54.   The Former High-Level Manager further explained that in August 2017, Tivity

began implementing a communications plan to address UHC’s offering of a competitive product.

According to the Former High-Level Manager, it was a “chaotic” time because Tivity’s senior

management was unable to reach a consensus on the messaging, such that the initial

communications plan was aborted midstream at the direction of Caroline Khalil, who reported to

the Company’s Chief Operating Officer, Ulya Khan. By September 2017, senior management

approved a revised communications plan which required the Former High-Level Manager and

his/her colleagues to “verbally” convey to fitness center partners that UHC was coming on board

as a competitor, but directed the fitness centers that they could not make any statements

regarding this information, or name the competitor, until after open enrollment began in October

2017. The Former High-Level Manager stated that Tivity did not want anything in writing shared

with fitness centers about the identity of UHC and its competitive program.

          55.   A November 6, 2017 Cantor Fitzgerald analyst report revealed to the investing

public that the very terms of UHC’s contract with Tivity “allowed [UHC] to pursue [a

competitive product] in certain markets.” Yet, when the contract renewal was announced to the

public on April 27, 2017, Defendants failed to disclose these material facts, and instead touted

Tivity’s relationship with UHC, and the renewed contract, as unqualifiedly positive facts, while

declining to reveal any details about the actual contract except that it was on “favorable” terms to

Tivity.

          D.    Tivity obfuscates the competitive threat posed by UHC and makes a series of
                false and misleading statements and omissions.

          56.   By late 2016, when Defendants were aware of UHC dropping SilverSneakers

from certain markets and replacing it with UHC’s own program, Defendants could and should

have informed the investing public of these developments. Instead, they chose obfuscation by

                                                16
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 19 of 47 PageID #: 290
making a series of false and misleading statements that omitted material facts in the FY16 Form

10-K, April 27, 2017 press release and earnings call, 1Q17 Form 10-Q, July 27, 2017 press

release, 2Q17 Form 10-Q, October 26, 2017 earnings call, and 3Q17 Form 10-Q.

                1.      FY16 Form 10-K

         57.    In its FY16 Form 10-K, filed by Tivity on March 6, 2017 and signed by

Defendants Tramuto and Hargreaves, Tivity inserted new language to its risk disclosures about

its reliance on health plan customers stating that “health plan customers could attempt to offer

services themselves that compete directly with our offerings or stop providing our offerings to

their members.” In full, the passage read as follows:

         A significant percentage of our revenues is derived from health plan
         customers.

          A significant percentage of our revenues is derived from health plan
         customers. The health plan industry may continue to consolidate, and we cannot
         assure you that we will be able to retain health plan customers, or continue to
         provide our products and services to such health plan customers on terms at least
         as favorable to us as currently provided, if they are acquired by other health plans
         that already participate in competing programs or are not interested in our
         programs. Further, consolidation among our customers, particularly our health
         plan customers that are part of larger healthcare enterprises, could provide these
         organizations with greater bargaining power, which may lead to further pressure
         on the prices for our products and services. In addition, a reduction in the number
         of covered lives enrolled with our health plan customers or in the payments we
         receive could adversely affect our results of operations. Our health plan customers
         are subject to continuing competition and reduced reimbursement rates from
         governmental and private sources, which could lead current or prospective
         customers to seek reduced fees or choose to reduce or delay the purchase of our
         services. Finally, health plan customers could attempt to offer services
         themselves that compete directly with our offerings or stop providing our
         offerings to their members. (Emphasis added.)

         58.    The FY16 Form 10-K also made the following risk disclosure:

         We currently derive a significant percentage of our revenues from two customers.

         For the year ended December 31, 2016, Humana and United Healthcare each comprised
         more than 10%, and together comprised approximately 36%, of our revenues from
         continuing operations. Our primary contract with Humana was renewed in 2015 and
                                              17
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 20 of 47 PageID #: 291
         continues through 2020. The term of our contract with United Healthcare continues
         through 2017. The loss or restructuring of a contract with Humana, United Healthcare
         or our other significant customers could have a material adverse effect on our business
         and results of operations. (Emphasis added.)

         59.    The bold and italicized language in these risk disclosures in paragraphs 57 and 58

are each false and misleading because they omitted material information concerning UHC’s

rollout of its competitive program, Optum Fitness Advantage, which had an immediate negative

impact in that SilverSneakers was being replaced in certain markets. Specifically, this language

led the investing public to believe that competition from important health plan customers, like

UHC, and the concomitant impact on revenues remained a mere possibility, when actual

competition from UHC had definitively begun and had been a historical fact for at least six

months—and Defendants Tivity, Tramuto, and Hargreaves knew it. Defendants Tivity,

Tramuto and Hargreaves knew or recklessly disregarded that these statements was false and

misleading at the time it was made because:

         (a)    before and during open enrollment for 2017, which ran between October and

                December 2016, Tivity executives were forwarded an aggressive letter from UHC

                to a fitness center that stated that UHC was launching Optum Fitness Advantage

                and that suggested that the fitness center would lose all SilverSneakers members,

                not just those insured by UHC;

         (b)    before January 2017, UHC informed Tivity that it would not be renewing

                SilverSneakers in at least New Jersey and Washington state;

         (c)    in January 2017, UHC began operating Optum Fitness Advantage in New Jersey

                and Washington state; and

         (d)    by early 2017, Tivity knew that UHC was sending letters about Optum Fitness

                Advantage to partners outside of New Jersey and Washington state.

                                                 18
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 21 of 47 PageID #: 292
                2.     April 27, 2017 press release and earnings call

         60.    As the Class Period progressed, Defendants Tivity, Tramuto, and Hargreaves

doubled down on their obfuscation. Upon concluding contract renewal negotiations, on April 27,

2017, Tivity filed a Form 8-K signed by Hargreaves which attached a press release announcing

First Quarter 2017 results and that Tivity had renewed its contract with UHC. Specifically, the

press release included the following quote from Tramuto:

         “We are also pleased to announce a three-year renewal of our SilverSneakers®
         contract with UHC Group, continuing a 20-year relationship with a partner who
         shares our commitment to active lifestyles. This renewal and many other renewals
         we have achieved to date are a clear indication of the value of both our brand and
         the services provided to our customers and their members through the
         SilverSneakers program.”

The press release also includes the following quote from Tramuto:

         Our first-quarter performance provides further evidence of our ability to fiercely
         execute on our plan, to produce profitable growth serving markets that have
         compelling long-term growth dynamics, and to deliver value to our customers and
         shareholders. Through our A-B-C-D strategy, the goals of which are to (A) add
         new members in our three existing networks - SilverSneakers®, Prime® Fitness
         and WholeHealth Living™ ; (B) build engagement and participation among
         our current eligible members; (C) collaborate with partners to add new products
         and services that will leverage the value of our brand; and (D) deepen
         relationships with our partners and their instructors within our national
         network, we believe we are well positioned to strengthen our market leadership
         position in serving the age 50-plus market. (Emphasis added.)

         61.    The bold and italicized language in paragraph 60 is false and misleading because

it omitted material facts necessary to make the statement not misleading. Specifically,

Defendants Tivity, Tramuto, and Hargreaves omitted the following facts known to them at the

time this statement was made that indicated Tivity was facing new and sizeable challenges from

UHC that negatively impacted SilverSneakers’ market share:

         (a)    Tivity’s A-B-C-D strategy was failing with respect to UHC because UHC had

                introduced a competitive program to SilverSneakers that was necessarily causing

                                                19
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 22 of 47 PageID #: 293
                Tivity to lose members of its SilverSneakers program in the markets that UHC

                was offering Optum Fitness Advantage;

         (b)    Tivity’s A-B-C-D strategy was failing with respect to UHC because their business

                relationship was not “deepening” but rather eroding given UHC’s rollout of a

                competitive program that would decrease Tivity’s revenues from SilverSneakers;

                and

         (c)    Tivity’s market leadership position was being weakened not “strengthened” by

                UHC’s introduction of Optum Fitness Advantage.


         62.    On an earnings call held shortly thereafter, Defendant Tramuto made a series of

false and misleading statements concerning the UHC contract in both prepared remarks and in

response to analysts’ inquiries.

         63.    In his opening remarks, Tramuto stated:

         This thought provides, I believe, a great segue to our announcement today of the
         3-year renewal of our contract with UnitedHealth, extending our 20-year
         relationship with one of our largest and oldest clients. We believe UnitedHealth
         values our ongoing commitment to reinvest in SilverSneakers, and they
         understand the strength of our brand because of both its importance to the
         Medicare Advantage membership and the results we produce. This improved
         depth of understanding led to a renewal that was completed on favorable terms.
         (Emphasis added.)

         64.    After Tramuto’s opening remarks, the very first question by William Blair &

Company LLC analyst Ryan Scott Daniels was whether there were “any changes” to the way

UHC paid Tivity that undermined margins and whether “given the strength United has seen in

their [Medicare Advantage] clients with very good growth, was there any dilution to that

[margin] we need to think about for 2018?” In response, Tramuto simply reiterated his prior

prepared remarks:


                                               20
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 23 of 47 PageID #: 294
               As we noted in my script is that we renewed on favorable terms,
               we don’t get into the specifics. And all I can tell you, as I have
               shared with you over the last few months, the relationship with
               United continues to be very strong. And we are very pleased with
               the terms that we have. (Emphasis added.)

         65.   The bold and italicized language in paragraphs 63 and 64 was false and

misleading because it omitted to disclose that UHC had now started to compete with Tivity, and

specifically omitted the material information concerning UHC’s rollout of its competitive

program, Optum Fitness Advantage in Washington, New Jersey and other states. This language

led the investing public to believe that Tivity’s renewed contract with UHC included the same, if

not better, terms than the predecessor contract, when in fact UHC was dropping SilverSneakers

as an offering in some of its markets. Tramuto knew or recklessly disregarded that this statement

was false and misleading at the time it was made because:

         (a)   before and during open enrollment for 2017, which ran between October and

               December 2016, Tivity executives were forwarded an aggressive letter from UHC

               to a fitness center that stated that UHC was launching Optum Fitness Advantage

               and that suggested that the fitness center would lose all SilverSneakers members,

               not just those insured by UHC;

         (b)   before January 2017, UHC informed Tivity that it would not be renewing

               SilverSneakers in at least New Jersey and Washington state;

         (c)   in January 2017, UHC began operating Optum Fitness Advantage in New Jersey

               and Washington state;

         (d)   by early 2017, Tivity knew that UHC was sending letters about Optum Fitness

               Advantage to partners outside of New Jersey and Washington state; and

         (e)   the terms of Tivity’s contract with UHC permitted UHC to offer a competitive

               product in certain markets.
                                                21
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 24 of 47 PageID #: 295
         66.   After Tramuto’s response, William Blair & Co. LLC analyst Daniels asked the

follow-up question whether there was “any big switch between the way that contract is

structured?” Tramuto then unequivocally answered:

               No. And as I shared, it’s favorable terms. And we just don’t get
               into those specifics. (Emphasis added.)

         67.   The bold and italicized language in paragraph 66 was false and misleading

because it omitted material information concerning UHC’s rollout of its competitive program

Optum Fitness Advantage that rendered the UHC contract terms actually less “favorable” than

the predecessor contract since SilverSneakers would be offered in fewer UHC Medicare

Advantage markets. As a participant in the contract negotiations, Tramuto knew or recklessly

disregarded that this statement was false and misleading at the time it was made because:

         (a)   the actual terms of the executed UHC contract confirmed that the competitive

               threat posed by UHC was increasing, all of which represented a deterioration in

               Tivity’s relationship with UHC which was decidedly not favorable to Tivity;

         (b)   the new contract altered Tivity’s relationship with UHC such that UHC’s

               increasingly competitive stance would decrease revenues derived from

               SilverSneakers, and increase investment risk for investors; and

         (c)   the terms of Tivity’s contract with UHC permitted UHC to offer a competitive

               product in certain markets.


               3.     1Q17 Form 10-Q

         68.   On May 4, 2017, Tivity filed a Form 10-Q signed by Defendant Hargreaves for

the quarterly period ending March 31, 2017 which covered the time during which Tivity was in

contract renewal negotiations with UHC, and was filed well after Tivity and UHC executed the

contract renewal. The Form 10-Q included the following risk statements:
                                              22
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 25 of 47 PageID #: 296
               In addition to the other information set forth in this report, you
               should carefully consider the risks and uncertainties previously
               reported under the caption "Part I — Item 1A. Risk Factors" in our
               Annual Report on Form 10-K for the fiscal year ended December
               31, 2016, the occurrence of which could materially and adversely
               affect our business, prospects, financial condition and operating
               results. The risks previously reported and described in our Annual
               Report on Form 10-K for the fiscal year ended December 31, 2016
               and in this report are not the only risks facing our business.
               Additional risks and uncertainties not currently known to us or
               those we currently deem to be immaterial may also materially and
               adversely affect our business operations.

               There have been no material changes to our risk factors
               previously disclosed in our Annual Report on Form 10-K for the
               fiscal year ended December 31, 2016. (Emphasis added.)

         69.   The bold and italicized language in paragraph 68 is false and misleading because

it omitted that the potential competitive and contract renewal risks that Tivity had warned of had

materialized in that it had negotiated its contract with UHC on less favorable terms and that UHC

had launched Optum Fitness Advantage to directly compete with SilverSneakers. Specifically,

this language led the investing public to believe that competition from important health plan

customers, like UHC, and the concomitant impact on revenues remained a mere possibility,

when actual competition from UHC had definitively begun and had been a historical fact for at

least six months—and Defendants Tivity, Tramuto, and Hargreaves knew it. Further, this

language led the investing public to believe that the terms of the new UHC were favorable to

Tivity. Defendants Tivity, Tramuto and Hargreaves knew or recklessly disregarded that this

statement was false and misleading at the time it was made because:

         (a)   before and during open enrollment for 2017, which ran between October and

               December 2016, Tivity executives were forwarded an aggressive letter from UHC

               to a fitness center that stated that UHC was launching Optum Fitness Advantage



                                               23
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 26 of 47 PageID #: 297
               and that suggested that the fitness center would lose all SilverSneakers members,

               not just those insured by UHC;

         (b)   before January 2017, UHC informed Tivity that it would not be renewing

               SilverSneakers in at least New Jersey and Washington state;

         (c)   in January 2017, UHC began operating Optum Fitness Advantage in New Jersey

               and Washington state; and

         (d)   by early 2017, Tivity knew that UHC was sending letters about Optum Fitness

               Advantage to partners outside of New Jersey and Washington state.


               4.     July 27, 2017 press release

         70.   On July 27, 2017, Tivity filed a Form 8-K, signed by Defendant Holland, which

attached a press release announcing the financial results for the quarterly period ending June 30,

2017. The press release stated:

               We believe we have a tremendous long-term opportunity to
               increase participation in both our SilverSneakers® and Prime®
               programs within each program’s existing base of millions of
               members who are already eligible to enroll and participate. While
               much work remains to be done on the pilots to understand their
               results and potential, we are encouraged by developments thus far.
               We believe this initiative will enable us to significantly expand the
               number of our members whose physical, emotional and social
               well-being are improved by our programs, helping them lead their
               best lives, with dignity, vitality and purpose. (Emphasis added.)

         71.   The bold and italicized language in paragraph 70 is false and misleading because

it omitted material facts necessary to make the statement not misleading. Specifically, the press

release omitted the following facts known to Defendants at the time this statement was made that

indicated Tivity was facing new and sizeable challenges from UHC that negatively impacted

SilverSneakers’ market share then and into the future:


                                                24
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 27 of 47 PageID #: 298
         (a)   UHC had introduced a competitive program to SilverSneakers that was

               necessarily causing Tivity to lose members of its SilverSneakers program in the

               markets that UHC was offering Optum Fitness Advantage;

         (b)   The “long-term” potential for SilverSneakers to grow was threatened given

               UHC’s ability, under the terms of its contract with Tivity, to roll out Optum

               Fitness Advantage into new markets and other markets in which UHC historically

               offered SilverSneakers; and

         (c)   Tivity had launched Project Success in June 2017 to develop a strategy to combat

               UHC’s competitive threat.


               5.     2Q17 Form 10-Q

         72.   On August 4, 2017, Tivity filed a Form 10-Q, signed by Defendant Holland, for

the quarterly period ending June 30, 2017, which was well after Tivity and UHC executed the

contract renewal and at the time that Tivity was working internally to develop a strategy to

combat UHC’s competitive assault on SilverSneakers in multiple markets. Despite these

circumstances, the Form 10-Q included the following risk statements:

               In addition to the other information set forth in this Report, you
               should carefully consider the risks and uncertainties previously
               reported under the caption "Part I — Item 1A. Risk Factors" in our
               Annual Report on Form 10-K for the fiscal year ended December
               31, 2016, the occurrence of which could materially and adversely
               affect our business, prospects, financial condition and operating
               results. The risks previously reported and described in our Annual
               Report on Form 10-K for the fiscal year ended December 31, 2016
               and in this Report are not the only risks facing our business.
               Additional risks and uncertainties not currently known to us or
               those we currently deem to be immaterial may also materially and
               adversely affect our business operations.

               There have been no material changes to our risk factors
               previously disclosed in our Annual Report on Form 10-K for the
               fiscal year ended December 31, 2016. (Emphasis added).
                                              25
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 28 of 47 PageID #: 299
         73.   The bold and italicized language in paragraph 72 is false and misleading because

it omitted that the potential competitive and contract renewal risks that Tivity had warned of had

materialized in that it had negotiated its contract with UHC on less favorable terms and that UHC

had launched Optum Fitness Advantage to directly compete with SilverSneakers. Specifically,

this language led the investing public to believe that competition from important health plan

customers, like UHC, and the concomitant impact on revenues remained a mere possibility,

when actual competition from UHC had definitively begun and had been a historical fact for at

least nine months—and Defendants Tivity, Tramuto, and Holland knew it. Further, this

language led the investing public to believe that the terms of the new UHC were favorable to

Tivity. Defendants Tivity, Tramuto and Holland knew or recklessly disregarded that this

statement was false and misleading at the time it was made because:

         (a)   before and during open enrollment for 2017, which ran between October and

               December 2016, Tivity executives were forwarded an aggressive letter from UHC

               to a fitness center that stated that UHC was launching Optum Fitness Advantage

               and that suggested that the fitness center would lose all SilverSneakers members,

               not just those insured by UHC;

         (b)   before January 2017, UHC informed Tivity that it would not be renewing

               SilverSneakers in at least New Jersey and Washington state;

         (c)   in January 2017, UHC began operating Optum Fitness Advantage in New Jersey

               and Washington state;

         (d)   by early 2017, Tivity knew that UHC was sending letters about Optum Fitness

               Advantage to partners outside of New Jersey and Washington state; and



                                                26
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 29 of 47 PageID #: 300
         (e)   Tivity launched Project Success in June 2017 to develop a strategy to combat

               UHC’s competitive threat.


               6.     October 26, 2017 earnings call

         74.   As the Class Period went on, Defendants continued to stay silent on the

competitive threat posed by UHC, even as they learned that threat had materialized and they

were grappling with its implications with a strategic outreach plan internally referred to as

“Project Success.”

         75.   On October 26, 2017, Tivity held an analyst conference call in which Defendant

Tramuto specifically discussed developments in 2018, but continued to omit perhaps the most

significant development that UHC was planning to drop SilverSneakers and replace it with its

own competitive program in additional states. Indeed, at this point, Defendants still had not even

informed the market of UHC rolling out Optum Fitness Advantage.

         76.   Specifically, during the call, Tivity’s Vice President of Investor Relations, Chip

Wochomurka, offered remarks about “[Tivity’s] current view for 2018,” which included that,

“given the overall growth in Medicare Advantage enrollment year-to-date, the strength of our

contract renewals in 2017 as well as winning back a few customers … [f]or 2018, we expect that

our revenue growth rate and margin profile will approximate what we expect to achieve in

2017.” Tramuto elaborated on “[Tivity’s] focus and opportunities for 2018,” and stated:

               [W]e expect 2018 to benefit from improved performance across
               our functional areas. For example, we achieved a contract
               renewal rate of over 99% for 2018. This hasn’t happened since
               2011 in the company. We produced a few new contracts that
               increased client penetration and had some former clients return
               home and come back to us. (Emphasis added.)

         77.   The bold and italicized language in paragraph 76 was false and misleading

because it omitted to disclose that, although Tivity renewed its contract with UHC, in 2018
                                              27
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 30 of 47 PageID #: 301
Tivity would see the competitive threat posed by UHC increase dramatically, which would have

an immediate negative impact on revenues or “performance” from SilverSneakers, As a

participant in the contract negotiations, Tramuto knew or recklessly disregarded that his

statement on October 26, 2017 was false and misleading at the time it was made because:

         (a)   the actual terms of the renewed UHC contract confirmed that the competitive

               threat posed by UHC was increasing since in certain markets it was replacing

               SilverSneakers with Optum Fitness Advantage, all of which represented a

               deterioration in Tivity’s relationship with UHC which was decidedly not

               favorable to Tivity;

         (b)   the renewed contract altered Tivity’s relationship with UHC such that UHC’s

               increasingly competitive stance would decrease revenues derived from the

               SilverSneakers, and increase investment risk for investors; and

         (c)   Tivity launched Project Success in in June 2017 to develop a strategy to combat

               UHC’s competitive threat and a communication plan was put in place by

               September 2017 to make direct outreach to Tivity’s fitness center partners

               concerning UHC’s competitive program;

         (d)   Defendants would later admit that they knew of contract losses arising from UHC

               as early as June 2017; and

         (e)   Defendants would later admit that they took these UHC contract losses into

               account when formulating preliminary guidance for 2018.


               7.     3Q17 Form 10-Q

         78.   On November 3, 2017, Tivity filed a Form 10-Q, signed by Defendant Holland,

for the quarterly period ending September 30, 2017. At the time of the filing, open enrollment for

                                               28
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 31 of 47 PageID #: 302
2018 was underway, Tivity was aware of the markets in which UHC was rolling out Optum

Fitness Advantage, and Tivity was aggressively communicating with its fitness center partners

about the competitive threat to SilverSneakers. Despite these circumstances, Defendants included

the following risk statements in this Form 10-Q:

               In addition to the other information set forth in this report, you
               should carefully consider the risks and uncertainties previously
               reported under the caption "Part I — Item 1A. Risk Factors" in our
               Annual Report on Form 10-K for the year ended December 31,
               2016, the occurrence of which could materially and adversely
               affect our business, prospects, financial condition and operating
               results. The risks previously reported and described in our Annual
               Report on Form 10-K for the year ended December 31, 2016 and
               in this report are not the only risks facing our business. Additional
               risks and uncertainties not currently known to us or those we
               currently deem to be immaterial may also materially and adversely
               affect our business operations.

               There have been no material changes to our risk factors
               previously disclosed in our Annual Report on Form 10-K for the
               year ended December 31, 2016. (Emphasis added.)

         79.   The bold and italicized language in paragraph 78 is false and misleading because

it omitted that the potential competitive and contract renewal risks that Tivity had warned of had

materialized in that it had negotiated its contract with UHC on less favorable terms and that UHC

had launched Optum Fitness Advantage to directly compete with SilverSneakers. Specifically,

this language led the investing public to believe that competition from important health plan

customers, like UHC, and the concomitant impact on revenues remained a mere possibility,

when actual competition from UHC had definitively begun and had been a historical fact for at

least twelve months—and Defendants Tivity, Tramuto, and Holland knew it. Further, this

language led the investing public to believe that the terms of the new UHC were favorable to

Tivity. Defendants Tivity, Tramuto and Holland knew or recklessly disregarded that this

statement was false and misleading at the time it was made because:

                                                29
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 32 of 47 PageID #: 303
         (a)   before and during open enrollment for 2017, which ran between October and

               December 2016, Tivity executives were forwarded an aggressive letter from UHC

               to a fitness center that stated that UHC was launching Optum Fitness Advantage

               and that suggested that the fitness center would lose all SilverSneakers members,

               not just those insured by UHC;

         (b)   before January 2017, UHC informed Tivity that it would not be renewing

               SilverSneakers in at least New Jersey and Washington state;

         (c)   in January 2017, UHC began operating Optum Fitness Advantage in New Jersey

               and Washington state;

         (d)   by early 2017, Tivity knew that UHC was sending letters about Optum Fitness

               Advantage to partners outside of New Jersey and Washington state;

         (e)   Tivity launched Project Success in in June 2017 to develop a strategy to combat

               UHC’s competitive threat and a communication plan was put in place by

               September 2017 to make direct outreach to Tivity’s fitness center partners

               concerning UHC’s competitive program;

         (f)   Defendants would later admit that they knew of contract losses arising from UHC

               as early as June 2017; and

         (g)   Defendants would later admit that they took these UHC contract losses into

               account when formulating preliminary guidance for 2018.


         E.    The truth is revealed and Tivity’s stock plummets.

         80.   On November 6, 2017, the market finally learned what Tivity had known but

concealed for a full year—that UHC had launched Optum Fitness Advantage to replace and

compete with SilverSneakers in what would be a total of 11 states beginning in January 2018.

                                                30
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 33 of 47 PageID #: 304
         81.   The disclosure was made not by Tivity but rather by UHC via a 9:00 a.m. press

release that day, which stated: “In January 2018, Optum Fitness Advantage will be available at

no additional cost to people enrolled in eligible UnitedHealthcare Medicare Advantage plans in

11 states through a large network of participating fitness centers. Plan participants will have

access to the same services, privileges, classes and programs as the fitness centers’ standard

members, including waiver of all enrollment fees.”

         82.   The press release further stated that “[t]he Optum Fitness Advantage program,

launched by UnitedHealthcare in Washington state and New Jersey in January 2017, has been

well received by local Medicare Advantage plan participants.”

         83.   As the market absorbed this news, Tivity shares plummeted more than 34%,

dropping from $48.05 at the start of trading, closing at $31.60, representing a market

capitalization loss of approximately $646 million in just one day.

         F.    Post Class-Period developments confirm Defendants’ scienter.

         84.   In response to this news, Defendants tried to reassure the market by explaining

that Tivity’s 2018 guidance remained unchanged, because Tivity had already factored UHC’s

actions into that guidance. Specifically, Tivity issued a press release stating, among other things,

“UHC’s plans … are fully reflected within our preliminary 2018 financial guidance set forth in

our earnings call on October 26, 2017, for the quarter ended September 30, 2017.” This did

nothing to reassure investors but rather served as an admission that, at the time it made its false

and misleading statements in paragraphs 57, 58, 60, 63, 64, 66, 68, 70, 72, 76, and 78: (i)

Defendants knew that UHC’s Optum Fitness Advantage had already begun competing with

SilverSneakers in certain markets; (ii) Defendants knew that UHC planned to compete in a total

of 11 states beginning in January 2018, and (iii) Defendants chose not to inform investors of this

material change in Tivity’s relationship with one of its largest customers.
                                                31
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 34 of 47 PageID #: 305
         85.   Tivity’s foreknowledge was further confirmed by additional admissions. For

example, a November 6, 2017 report by Cantor Fitzgerald analysts Steven Halper and Yulia

Norenko, stated that “[w]e spoke with TVTY management this morning about UNH’s

announcement. Management indicated that they were aware of UNH’s intention and that under

the current contract… UNH was allowed to pursue these activities in certain markets.”

         86.   Similarly, a November 6, 2017 report by William Blair analyst Ryan Daniels and

Nick Hiller reported that “management stated that they have been aware of these contract losses

since June 2017[.]”

         87.   Finally, that the actual competitive threat posed by UHC was indeed a material

risk that Tivity should have warned about was confirmed by Tivity itself. Specifically, in its

FY17 Form 10-K, filed on February 28, 2018, Tivity finally acknowledged that “United

Healthcare discontinued offering SilverSneakers to its individual Medicare Advantage

beneficiaries in nine states and instead provided those beneficiaries a fitness benefit offered by

its wholly owned subsidiary Optum, … [and that] United Healthcare may discontinue offering

SilverSneakers to its Medicare Advantage beneficiaries in additional states in 2019 or 2020

within contractual limitations and/or may offer multiple fitness benefits, including

SilverSneakers.”

         88.   Unfortunately for Class Members, this disclosure came far too late.

V.       ADDITIONAL SCIENTER ALLEGATIONS

         89.   That Defendants acted with scienter is bolstered by the fact that, during the Class

Period, numerous Company insiders engaged in unusual and significant sales of their Tivity

shares, while in possession of significant non-public information about the rising competitive

threat posed by UHC.


                                               32
2356256 v1
     Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 35 of 47 PageID #: 306
          90.     Insider trading by Defendant Hargreaves during the Class Period further indicates

his scienter.

          91.   During the Class Period, Hargreaves sold a total of 67,716 shares of Tivity

common stock while in possession of material non-public information about UHC’s competing

fitness program, for proceeds of $$2,621,401.10. These sales reduced Hargreaves’ stake in Tivity

from approximately 70,000 shares before August 3, 2017 to approximately 39,000 shares on

November 2, 2017.5 Tellingly, Hargreaves sold no shares in the two years preceding the Class

Period.

          92.   During the Class Period, Tivity’s Chief Legal Officer and Corporate Secretary

Mary Flipse sold 28,168 shares of Tivity common stock while in possession of material non-

public information about UHC’s competing fitness program, for proceeds of $1,114,232.74.

These sales reduced Flipse’s stake in Tivity from approximately 77,000 shares before August 11,

2017 to approximately 45,000 shares on November 3, 2017.6 Flipse sold no shares in the two

years preceding the Class Period.

          93.   Conan Laughlin (“Laughlin”), who served as a director member of the

compensation and audit committees throughout the Class Period, is a significant activist investor

and had led the successful campaign for Healthways’ divestiture of businesses other than

SilverSneakers.

          94.   During the Class Period, Laughlin sold a significant number of Tivity shares

owned by him and entities he controlled while in possession of material non-public information


          5
          Only Hargreaves’ sales of 7,137 shares on September 26, 2017 were made pursuant to a
Rule 10b5-1 trading plan. Hargreaves also acquired shares pursuant to stock options with low
strike prices that vested during this period, and then sold them.
          6
        Only Flipse’s sales of 7,808 shares on September 25, 2017 were made pursuant to a
Rule 10b5-1 trading plan.
                                                 33
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 36 of 47 PageID #: 307
about the rising competitive threat to Tivity posed by UHC. Specifically, before March 1, 2017,

Laughlin, jointly with North Tide Capital Master, LP, NTC Special Opportunities I Master, LP,

and North Tide Capital, LLC (“North Tide entities”), owned more than 10% of Tivity’s

outstanding shares of common stock. Laughlin, as the manager of the North Tide entities, is

deemed the beneficial owner of the shares traded by the North Tide entities.

         95.   During the Class Period, Laughlin (with the North Tide entities) sold 3,750,000

shares of Tivity common stock while in possession of material non-public information

concerning UHC’s competing fitness program, for proceeds of $122,925,000. These sales

reduced Laughlin’s stake in Tivity from approximately 3,500,000 before March 1, 2017 to

approximately 100,000 on August 1, 2017.7 Laughlin sold no shares in the two years preceding

the Class Period.

         96.   The foregoing insider sales further support Defendants’ scienter.

VI.      LOSS CAUSATION

         97.   During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated and/or maintained the price

of Tivity securities at an artificially high level, and operated as a fraud or deceit on Class-Period

purchasers of Tivity securities by failing to disclose and misrepresenting the adverse facts

detailed herein. When Defendants’ prior misrepresentations and fraudulent conduct were

disclosed and became apparent to the market, the price of Tivity securities declined significantly

as the prior artificial inflation came out of the Company’s securities’ prices.




         7
         After the Class Period, between November 6, 2017 and November 21, 2017, Laughlin
sold an additional 750,000 shares for proceeds of $27,413,445.62.
                                                 34
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 37 of 47 PageID #: 308
         98.       As a result of their purchases of Tivity securities during the Class Period, Lead

Plaintiff and the other Class members suffered economic loss, i.e., damages, under the federal

securities laws.

         99.    By concealing from investors the adverse facts detailed herein, Defendants

presented a misleading picture of the health of Tivity’s business, including Tivity’s relationship

with its most important health plan customer, UHC. When the truth about the Company was

revealed to the market, the price of Tivity’s securities fell significantly. This decline removed the

inflation from the price of Tivity securities, causing real economic loss to investors who had

purchased Tivity securities during the Class Period.

         100.   The economic loss, i.e., damages, suffered by Lead Plaintiff and the other Class

members was a direct result of Defendants’ fraudulent scheme to artificially inflate and/or

maintain the price of Tivity securities and the subsequent significant decline in the value of

Tivity securities when Defendants’ prior misrepresentations and other fraudulent conduct were

revealed.

VII.     NO SAFE HARBOR

         101.   The statutory safe harbor applicable to forward-looking statements under certain

circumstances does not apply to any of the false and misleading statements plead in this

Complaint.

         102.   Either the statements complained of herein were not forward-looking statements,

but rather were historical statements or statements of purportedly current facts and conditions at

the time the statements were made, or to the extent there were any forward-looking statements,

Tivity’s verbal “Safe Harbor” warnings accompanying its oral forward-looking statements issued

during the Class Period were ineffective to shield those statements from liability.


                                                  35
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 38 of 47 PageID #: 309
         103.   Further, the statutory safe harbor does not apply to statements included in

financial statements that purportedly were made in accordance with GAAP, such as Tivity’s

Forms 10-K and 10-Q issued throughout the Class Period.

         104.   To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, those statements were not accompanied by meaningful cautionary

language identifying important facts that could cause actual results to differ materially from

those in the statements.

         105.   To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, Defendants are liable for those false or misleading statements

because, at the time each such statement was made, the speaker knew the forward-looking

statement was false or misleading and the forward-looking statement was authorized and/or

approved by an executive officer of Tivity who knew that the forward-looking statement was

false. None of the historic or present tense statements made by Defendants were assumptions

underlying or relating to any plan, projection, or statement of future economic performance, as

they were not stated to be such assumptions underlying or relating to any projection or statement

of future economic performance when made, nor were any of the projections or forecasts made

by Defendants expressly related to, or stated to be dependent on, those historic or present tense

statements when made.

VIII. CLASS ACTION ALLEGATIONS

         106.   Lead Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased or

otherwise acquired Tivity securities between March 6, 2017 and November 6, 2017, inclusive

(the “Class”). Excluded from the Class are Defendants and their families; the officers and

directors of the Company, at all relevant times, members of their immediate families; and their
                                               36
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 39 of 47 PageID #: 310
legal representatives, heirs, successors or assigns and any entity in which Defendants have or had

a controlling interest.

         107.   The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Tivity common stock was actively traded on the

NASDAQ. While the exact number of Class members is unknown to Lead Plaintiff at this time

and can only be ascertained through appropriate discovery, Lead Plaintiff believes that there are

thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Tivity or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

         108.   Lead Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law complained of herein.

         109.   Lead Plaintiff will fairly and adequately protect the interests of the members of

the Class and has retained counsel competent and experienced in class action and securities

litigation.

         110.   Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                (a)       whether the federal securities laws were violated by Defendants’ acts as

                          alleged herein;




                                                 37
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 40 of 47 PageID #: 311
                  (b)    whether statements made by Defendants to the investing public during the

                         Class Period misrepresented material facts about the business and

                         operations of Tivity;

                  (c)    whether the price of Tivity securities was artificially inflated and/or

                         maintained during the Class Period; and

                  (d)    to what extent the members of the Class have sustained damages and the

                         proper measure of damages.

         111.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

IX.      FRAUD ON THE MARKET AND AFFILATED UTE ALLEGATIONS

         112.     Lead Plaintiff is entitled to a presumption of reliance on Defendants’ material

misrepresentations and omissions pursuant to the fraud-on-the-market doctrine because, at all

relevant times, the market for Tivity securities was an efficient market for the following reasons,

among others:

                  (a)    Tivity common stock met the requirements for listing, and was listed and

                         actively traded, on the NASDAQ, a highly efficient, electronic stock

                         market;

                  (b)    as a regulated issuer, Tivity filed periodic public reports with the SEC and

                         the NASDAQ;


                                                   38
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 41 of 47 PageID #: 312
                (c)    Tivity regularly communicated with public investors via established

                       market communication mechanisms, including regular disseminations of

                       press releases on the national circuits of major newswire services and

                       other wide-ranging public disclosures, such as communications with the

                       financial press and other similar reporting services; and

                (d)    Tivity was followed by securities analysts employed by major brokerage

                       firms, including Barrington Research, Jefferies, Piper Jaffray, SunTrust,

                       and UBS, among others, who wrote reports which were distributed to the

                       sales force and certain customers of their respective brokerage firms. Each

                       of these reports was publicly available and entered the public marketplace.

         113.   In the alternative, Lead Plaintiff is entitled to a presumption of reliance under

Affiliated Ute v. United States, 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are primarily predicated upon the omission of material facts that Defendants had a

duty to disclose.

         114.   As a result of the foregoing, the market for Tivity securities promptly digested

current information regarding Tivity from all publicly available sources and reflected such

information in the prices of the common stock and other securities. Under these circumstances,

all purchasers or acquirers of Tivity securities during the Class Period suffered similar injury

through their purchase or acquisition of Tivity securities at artificially inflated prices and a

presumption of reliance applies.

X.       CLAIMS FOR RELIEF




                                                39
2356256 v1
     Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 42 of 47 PageID #: 313
                                            COUNT I
                 Violation of Section 10(b) of the Exchange Act and Rule 10b-5
                                     Against All Defendants

         115.   Lead Plaintiff repeats and realleges each and every allegation contained above as

if fully set forth herein.

         116.   During the Class Period, Defendants disseminated or approved the materially

false and misleading statements specified above, which they knew or deliberately disregarded

were misleading in that they contained misrepresentations and failed to disclose material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

         117.   Defendants:

                (a)      employed devices, schemes, and artifices to defraud;

                (b)      made untrue statements of material fact and/or omitted to state material

                         facts necessary to make the statements not misleading; and

                (c)      engaged in acts, practices, and a course of business which operated as a

                         fraud and deceit upon the purchasers of the Company’s common stock

                         during the Class Period.

         118.   Lead Plaintiff and the Class have suffered damages in that, in reliance on the

integrity of the market, they paid artificially inflated prices for Tivity securities. Lead Plaintiff

and the Class would not have purchased Tivity securities at the prices they paid, or at all, if they

had been aware that the market prices had been artificially and falsely inflated by Defendants’

misleading statements.

         119.   As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiff

and the other members of the Class suffered damages in connection with their purchases and

acquisitions of Tivity securities during the Class Period.
                                                 40
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 43 of 47 PageID #: 314
                                               COUNT II
                             Violation of Section 20(a) of the Exchange Act
                                     Against Individual Defendants

         120.   Lead Plaintiff repeats and realleges each and every allegation contained above as

if fully set forth herein.

         121.   The Individual Defendants acted as controlling persons of Tivity within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By reason of their positions as

officers and/or directors of Tivity, and their ownership of Tivity stock, and their culpable

participation, as alleged above, the Individual Defendants had the power and authority to cause

Tivity to engage in the wrongful conduct complained of herein.

         122.   By reason of such conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act.

XI.      PRAYER FOR RELIEF

         123.   WHEREFORE, Lead Plaintiff prays for judgment as follows:

                (a)      declaring this action to be a proper class action pursuant to Federal Rule of

                         Civil Procedure 23;

                (b)      awarding compensatory damages in favor of Lead Plaintiff and other Class

                         members against all Defendants, jointly and severally, for all damages

                         sustained as a result of Defendants’ wrongdoing, in an amount to be

                         proven at trial, including interest thereon;

                (c)      awarding Lead Plaintiff and the Class their reasonable costs and expenses

                         incurred in this action, including counsel fees and expert fees; and

                (d)      such equitable/injunctive or other relief as deemed appropriate by the

                         Court.

XII.     JURY TRIAL DEMANDED
                                                   41
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 44 of 47 PageID #: 315
         124.   Lead Plaintiff demands a trial by jury.

Dated: June 4, 2018                                   Respectfully submitted,
                                                       /s/ J. Gerard Stranch IV
                                                      J. Gerard Stranch IV

                                                      BRANSTETTER, STRANCH &
                                                      JENNINGS, PLLC
                                                      J. Gerard Stranch IV
                                                      Benjamin A. Gastel
                                                      223 Rosa L. Parks Avenue
                                                      Suite 200
                                                      Nashville, TN 37203
                                                      Telephone: (615) 254-8801
                                                      Facsimile: (615) 255-5419
                                                      gerards@bsjfirm.com

                                                      Liaison Counsel

                                                      COHEN MILSTEIN SELLERS & TOLL
                                                      PLLC
                                                      Steven J. Toll
                                                      Times Wang
                                                      Elizabeth Aniskevich
                                                      1100 New York Avenue N.W.
                                                      Suite 500
                                                      Washington, D.C. 20005
                                                      Telephone: (202) 408-4600
                                                      Facsimile: (202) 408-4699
                                                      stoll@cohenmilstien.com
                                                      twang@cohenmilstein.com
                                                      eaniskevich@cohenmilstein.com

                                                      Christina D. Saler
                                                      Three Logan Square, 1717 Arch Street
                                                      Suite 3610
                                                      Philadelphia, PA 19103
                                                      Telephone: (267) 479-5707
                                                      Facsimile: (267) 479-5701
                                                      csaler@cohenmilstein.com

                                                      Counsel for Lead Plaintiff and Lead Counsel
                                                      for the Proposed Class



                                                 42
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 45 of 47 PageID #: 316
                                  CERTIFICATE OF SERVICE

         I certify that on this 4th day of June, 2018, I electronically filed the foregoing document

using the Court’s CM/ECF system, and a copy of this filing will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing. The following counsel

will receive service via the Court’s CM/ECF system at the email addresses listed below:

         Eduard Korsinsky
         Levi & Korsinsky, LLP
         30 Broad Street
         24th Floor
         New York, NY 10004
         (212) 363-7500
         Fax: (212) 363-7171
         Email: ek@zlk.com

         James A. Holifield , Jr.
         Holifield Janich Rachal & Associates, PLLC
         11907 Kingston Pike
         Suite 201
         Knoxville, TN 37934
         (865) 566-0115
         Fax: (865) 566-0119
         Email: aholifield@holifieldlaw.com

         Attorneys for Plaintiff Eric Weiner

         Jessica Perry Corley
         Lisa R. Bugni
         King & Spalding LLP (Atlanta Office)
         1180 Peachtree Street NE
         Atlanta, GA 30309-3521
         (404) 572-4717
         Email: jpcorley@kslaw.com
         Email: lbugni@kslaw.com

         Joseph B. Crace, Jr.
         Wallace Wordsworth Dietz
         Bass, Berry & Sims (Nashville Office)
         150 Third Avenue South
         Suite 2800
         Nashville, TN 37201
         (615) 742-7896
                                                  43
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 46 of 47 PageID #: 317
         Fax: (615) 742-2700
         Email: jcrace@bassberry.com
         Email: wdietz@bassberry.com

         Attorneys for the Defendants


                                             /s/ J. Gerard Stranch IV
                                             J. Gerard Stranch IV




                                        44
2356256 v1
   Case 3:17-cv-01469 Document 32 Filed 06/04/18 Page 47 of 47 PageID #: 318
